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                                                                                      FILED IN OPEN COURT
                                                                                        U.S.D.C ATLANTA
                                                                                      JAN 25 2021
                                                                                 Date: __________________________
                                                                                      JAMES N. HATTEN, Clerk
                                                                                     s/Lynn Wood Beck
                      IN THE UNITED STATES DISTRICT COURT                       By: ____________________________
                     FOR THE NORTHERN DISTRICT OF GEORGIA                                 Deputy Clerk
                               ATLANTA DIVISION

 UNITED STATES OF AMERICA
                                                     CRIMINAL ACTION
 V.

                                                     NO. 1:17-CR-327-MHC-JKL-1           and
 JOSHUA POLLOSO EPIFANIOU                            NO. 1:21-cr-24-MHC


TO THE ABOVE NAMED DEFENDANT:

      By direction of the Honorable Mark H. Cohen, United States District Judge, YOU ARE
HEREBY ORDERED to appear in the United States District Court for the Northern District of
Georgia on WEDNESDAY, MARCH 3, 2021, AT 10:00 A.M. for imposition of sentence. On
that date report to the U.S. Courthouse, Courtroom 1905, 75 Ted Turner Drive, SW, Atlanta,
Georgia, 30303, where sentence will be imposed. You will receive no further notice.


        If you are under bond, your failure to appear for sentencing on this above date will result
in the forfeiture of your bond.


        IT IS FURTHER ORDERED that a Presentence Investigation and Report to this Court
will be completed, and that you report immediately to the United States Probation Office of this
Court for interview and further instruction. (Room 900 of the building).



DATE: January 25, 2021                                    JAMES N. HATTEN, CLERK

DEFENDANT:
                 Joshua f>olloso Epifaniou

COUNSEL: -                                            B^f
        S^eph^n R^ohnson                                  ^Lynn^Wood Beck
                                                            COURTROOM DEPUTY CLERK

NOTE: No continuance can be granted except by Order of the Court. Any request should be
brought to the Court's attention as soon as possible by having your attorney call Lynn Wood
Beck, Courtroom Deputy Clerk, at 404-215-1315.


U.S. Attorney                                        AUSA: Nathan Kitchens
U.S. Marshal
U.S. Probation
